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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AFL-CIO, et al.,

Plaintiffs,

v.                                                      Case No. 1:25-cv-00339-JDB

DEPARTMENT OF LABOR, et al.,

Defendants.




              DECLARATION OF                                       , SEIU MEMBER


I,                    , declare as follows:


     1. I am a member of the Service Employees International Union (“SEIU”) and an active

        participant in SEIU’s Union of Southern Service Workers (“USSW”) campaign. I submit

        this declaration in support of Plaintiffs’ application for a temporary restraining order in

        this matter. The statements made in this declaration are based on my personal knowledge.


     2. I became a member of SEIU and joined the USSW campaign, because I believe that

        workers in service industries, such as the fast food and restaurant industries, deserve to be

        paid a living wage, to work in a safe working environment and to be treated with respect.

        Based on experience in the service industry, joining with other workers in a labor union

        is our best chance to win better working conditions.


     3. I first became active in the USSW campaign when I was employed as a server at a Waffle

        House restaurant in North Carolina in 2022. For two years, I worked around 30 hours per


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      week for a tipped wage of $2.92 per hour. The tips I earned varied greatly from shift to

      shift and it was difficult to make ends meet. I am a single mother to four children. After

      paying for the cost of childcare, I often did not have enough money to pay my household

      bills.


4. Through my participation in the USSW campaign, I learned about my rights as a tipped

      employee under the Fair Labor Standards Act (“FLSA”), including the fact that Waffle

      House was required to pay me the minimum wage when I performed job duties unrelated

      to my job as a server. I estimated that I worked at least two to three hours per seven hour

      shift performing duties that were not related to my job as a server. For example, even for

      the time I spent cooking in the Waffle House kitchen where I did not earn tips, I was still

      paid an hourly rate of $2.92 per hour.


5. If Waffle House paid me the wages I am owed under the law, it would be a significant

      amount for me and it would help me provide for my family. This motivated me to file a

      complaint with the Department of Labor (“DOL”) against Waffle House.


6. On September 19, 2024, SEIU filed a wage theft complaint with the Department of Labor

      on my behalf. I reviewed the complaint prepared by SEIU and my identity was included

      in the complaint. After reviewing the complaint, I signed the complaint electronically.


7.    I would not have been able to file the September 19 wage theft complaint without

      SEIU’s assistance. I provided detailed information and evidence to SEIU in support of

      the complaint. Without SEIU’s help, I would not have known what kind of evidence is

      needed to prove a wage theft complaint or how to file the complaint. Prior to the filing of

      the September 19 complaint, I had never filed a wage theft complaint. I did not have the

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       resources to find and hire a lawyer to help me prepare or file a complaint.


   8. At the time the September 19 wage theft complaint was filed, I was assured by SEIU that

       the information I provided, including my identity, would remain confidential. I was told

       that if the DOL pursued my claim, the DOL would ask my permission before revealing

       my name to Waffle House. While I no longer work at Waffle House, I still want to keep

       confidential the fact that I filed a wage theft complaint against my employer. I worked at

       Waffle House for two years and I may decide to re-apply. It is a national corporation,

       and if Waffle House found out about the complaint, it could impact their decision to

       rehire me at any Waffle House location. I am also afraid that if my wage theft complaint

       against Waffle House became public, it could negatively impact my ability to get hired in

       any job. I believe that other employers may not want to hire someone who filed a wage

       theft complaint against their previous employer. If the DOL is willing to pursue my

       complaint and help me recover the wages I am owed, I would consider giving the DOL

       permission to reveal my name to Waffle House. But at this time, I do not know if DOL

       will pursue my complaint and I do not want my identity or the information I provided to

       the DOL to become public.


I declare under penalty of perjury that the foregoing is true and correct.


Executed on February 9, 2025, in             North Carolina.




                                                         /s/                    _____________




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